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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                           No. 17-1008

                                Susan Lask v. Louis Meloni, et al

                             (Originating Court No. 1-15-cv-07606)

                                           ORDER

In accordance with the agreement of the parties in the above-captioned case, the matter is hereby
dismissed pursuant to Fed. R. App. P. 42(b), without cost to either party. A certified copy of this
order is issued in lieu of a formal mandate.



For the Court,


Marcia M. Waldron, Clerk

Dated: July 6, 2017
                                                  A True Copy
cc:
Susan C. Lask Esq.
Benjamin H. Zieman Esq.                                   Marcia M. Waldron, Clerk
                                                  Certified order issued in lieu of mandate.
